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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
  FIX THE COURT,                                   )
                                                   )
                      Plaintiff,                   )
                                                   )
  v.                                               )    Case No. 18-2091 (TJK)
                                                   )
  U.S. DEPARTMENT OF JUSTICE,                      )
                                                   )
                     Defendant.                    )
                                                   )

                                      JOINT STATUS REPORT

          Plaintiff Fix the Court and Defendant U.S. Department of Justice (“DOJ”) respectfully

 submit this status report in the above-captioned matter, pursuant to the Court’s February 7, 2019

 Minute Order.

       1. The initial processing of the approximately 3,200 pages of remaining lower-priority

          electronic records will be completed by May 31, 2019. This does not include the time

          required for consultations. DOJ will send potentially responsive records to relevant

          stakeholders for consultation on a rolling basis.

       2. The parties respectfully propose that they file a joint status report with a status update on

          the processing schedule for the remaining, lower-priority paper documents no later than

          April 5, 2019.



Dated: March 4, 2019
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Respectfully submitted,



                                    /s/ _______
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